
STOKER, Judge.
This appeal involves the same issues and procedural history described in our opinion rendered this day in Freeman, et al v. Insurance Company of North America, 444 So.2d 793 (La.App. 3rd Cir.1974), our docket number 83-426. The trial court judgment of April 18, 1983, mentioned in that opinion was a consolidated judgment which included the action of Joann Doucet Freeman. From the dismissal of her action Joann Freeman appealed to this court.
For the reasons given in the opinion in the Freeman suit mentioned above, the judgment of the trial court dated April 18, 1983, dismissing appellant Joann Freeman’s action is affirmed. The costs of this appeal are assessed to Joann Freeman.
AFFIRMED.
